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 5   Attorney for Defendant
     ALEKSANDR LASTOVSKIY
 6

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 8
                                     UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                        No. 2:12-CR-322 GEB
12
                        Plaintiff,                    STIPULATION AND [PROPOSED]
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                                                      ORDER EXCHANGING EQUITY FOR
             v.                                       PROPERTY BOND AND RELEASE OF
14
     ALEKSANDR LASTOVSKIY, et al,                     LIEN
15
                        Defendants.
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17
                                              STIPULATION
18
                    The parties herein stipulate and agree as follows:
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     1.      Defendant Aleksandr Lastovskiy was released on bail by the Court on or about September
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     20, 2012.
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     2.      A portion of that bail was a $50,000.00 property bond secured by real property located at
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     7801 Delaney Drive, Antelope, CA 95843 and owned by defendant’s brother and sister-in-law,
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     Aleksandr and Vera Lastovskiy.
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     3.      The brother and sister-in-law who own the Delaney Drive residence wish to refinance that
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     note secured by a deed of trust on the Delaney Drive property and request that the Court release
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     the lien securing the property bond.
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     4.      Another of defendant’s brothers and his wife, Andrey and Margarita Lastovskiy, have
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                                                      1
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 1   agreed to provide a $50,000.00 property bond secured with a lien on their property located at

 2   6526 Marysville Boulevard, Rio Linda, CA 95673.

 3   5.      There is sufficient equity in the Marysville Boulevard property to secure a $50,000.00

 4   property bond. Further, there are no legal impediments to the Court securing a lien on that

 5   property.

 6   6.      The Court’s Pre-Trial Services Office has no opposition to releasing the lien on the

 7   Delaney Drive property and replacing that with a lien on the Marysville Boulevard property.

 8   Dated: September 21, 2017
                                                  /s/ Kenny N. Giffard
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10                                                KENNY N. GIFFARD
                                                  Attorney for Defendant
11                                                ALEKSANDR LASTOVSKIY
12
                                                  /s/ Heiko P. Coppola
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14                                                HEIKO P. COPPOLA
                                                  Assistant United States Attorney
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16
                                          [PROPOSED] ORDER
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             Upon consideration of the foregoing stipulation of the parties, and upon GOOD CAUSE
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     THERE SHOWN, IT IS THUS ORDERED that upon the recording and filing of a $50,000.00
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     property bond secured by real property located at 6526 Marysville Boulevard, Rio Linda,
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     California, the $50,000.00 property bond secured by real property located at 7801 Delaney Drive,
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     Antelope, California, be released.
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     Dated: September 29, 2017
23                                                    _____________________________________
24                                                    CAROLYN K. DELANEY
                                                      UNITED STATES MAGISTRATE JUDGE
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